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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   KATHERINE J., 1                               Case No. SACV 20-1010 PVC
12                       Plaintiff,
13          v.                                           JUDGMENT
14   KILOLO KIJAKAZI, Acting
     Commissioner of Social Security, 2
15
                         Defendant.
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17
18         IT IS ADJUDGED that the decision of the Commissioner is REVERSED and that
19   the above-captioned action is REMANDED to the Commissioner for further action
20   consistent with the Court’s Memorandum Decision and Order.
21
     DATED: September 22, 2021
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23
                                              PEDRO V. CASTILLO
24                                            UNITED STATES MAGISTRATE JUDGE
25   1
       The Court partially redacts Plaintiff’s name in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
26   Administration and Case Management of the Judicial Conference of the United States.
27   2
      Kilolo Kijakazi, the Acting Commissioner of Social Security is hereby substituted for
     Andrew M. Saul, her predecessor, originally named in the complaint. See 42 U. S. C. §
28   405(g); Fed. R. Civ. P. 25(d).
